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                       IN THE UNITED STATES COURT
                     FOR THE DISTRICT OF PUERTO RICO




      GRETCHEN LAUREANO QUIÑONES,

               Plaintiff,

                         v.                        CIV. NO.: 15-2548 (SCC)

     RICHARD NADAL CARRION

               Defendant.


                            OPINION AND ORDER

        This is a medical malpractice suit claiming that Doctor

    Richard Nadal Carrión deviated from the standard of care in

    performing an abdominoplasty. Doctor Nadal Carrión moves

    for summary disposition of all claims. See Docket No. 102.

    Plaintiff opposes. Docket No. 112. After careful consideration,

    the Court grants Dr. Nadal’s request.

        I. Factual Background 1

        Ms. Gretchen Laureano Quiñones filed suit against Dr.


    1 The Court will only discuss the facts that are pertinent to the analysis of
    the Motion for Summary Judgment.
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    Nadal Carrión, claiming that he did not remove enough

    excess fat from her abdomen during an abdominoplasty; and

    that he abandoned her for failing to perform a revision

    surgery. See Docket Nos. 1, 6 and 38.

       Ms. Laureano filed a Motion for Summary Judgment,

    which the Court denied. See Docket Nos. 93 and 180. Ms.

    Laureano appealed, and the First Circuit dismissed the

    appeal. See Docket No. 194.

       Dr. Nadal also filed an Amended Motion for Summary

    Judgment, and thereafter moved to strike the testimony of

    Ms. Laureano’s only expert witness, Dr. David Leitner. See

    Docket Nos. 102, and 153. The Court held a hearing on the

    Daubert challenge, and ultimately granted the defendant’s

    Motion in Limine at Docket No. 153. See Opinion and Order

    at Docket No. 195.

       II. Standard

       Summary judgment may be granted when “the pleadings,

    depositions, answers to interrogatories, and admissions on

    file, together with the affidavits, if any, show that there is no
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    genuine issue as to any material fact and that the moving

    party is entitled to judgment as a matter of law.” Fed. R. Civ.

    P. 56(c); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322-23

    (1986)(If a party “fails to make a showing sufficient to

    establish the existence of an element essential to the party’s

    case, and on which that party will bear the burden of proof at

    trial,” summary judgment is proper.) The court must examine

    the record in the light most favorable to the nonmovant and

    indulging all reasonable inferences in the nonmovant’s favor.

    Maldonado-Denis v. Castillo-Rodríguez, 23 F.3d 576, 581 (1st Cir.

    1994).

       In its review of the record, the court must refrain from

    engaging in an assessment of credibility or weigh the

    evidence presented. Reeves v. Sanderson Plumbing Products,

    Inc., 530 U.S. 133, 135 (2000)(“Credibility determinations, the

    weighing of the evidence, and the drawing of legitimate

    inferences from the facts are jury functions, not those of a

    judge.” Reeves, 530 U.S. at 150 (quoting Anderson v. Liberty

    Lobby, Inc., 477 U.S. 242, 250–251 (1986)).
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       III. Factual Findings

       Since the Court already made Findings of Fact in its

    Opinion and Order at Docket No. 180, we are adopting those

    findings here in toto.

       IV. Analysis

       Dr. Nadal premises his request for summary judgment on

    case law from the Puerto Rico Supreme Court supporting the

    view that a medical malpractice case requires expert

    testimony. Dr. Nadal posits that Dr. Leitner’s testimony

    should be excluded, and that in the absence of Dr. Leitner’s

    expert opinion, Ms. Laureano’s claims cannot survive. 2 Upon

    reviewing the pertinent case law, we find that it is in line with

    Dr. Nadal’s argument.

       Because this is a diversity action, we must look to the law

    of the forum state. See Erie R.R. v. Tompkins, 304 U.S. 64, 78, 58

    S.Ct. 817, 822 (1938); Rolon–Alvarado v. Municipality of San



    2 At the time that Dr. Nadal filed the Motion for Summary Judgment, the
    Court had not yet excluded Dr. Leitner’s opinion on Daubert grounds.
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    Juan, 1 F.3d 74, 77 (1st Cir.1993). To establish a prima facie case

    of medical malpractice in Puerto Rico, a plaintiff most show

    by a preponderance of the evidence: “(1) the duty owed (i.e.,

    the minimum standard of professional knowledge and skill

    required in the relevant circumstances) ; (2) an act or omission

    transgressing that duty; and (3) a sufficient causal nexus

    between the breach and the harm.” Marcano Rivera v. Turabo

    Medical Center Partnership, 415 F.3d 162, 167 (1st Cir.

    2005)(citing Rojas–Ithier v. Sociedad Española de Auxilio Mutuo y

    Beneficiencia de P.R., 394 F.3d 40, 43 (1st Cir.2005)); Cortes-

    Irizarry v. Corporacion Insular De Seguros, 111 F.3d 184, 189 (1st

    Cir. 1997)(citing Lama v. Borras, 16 F.3d 473, 478 (1st Cir.1994)

    and Rolon–Alvarado, 1 F.3d at 77).

       Under Puerto Rico law, there is a presumption that the

    treating doctors employed a reasonable degree of care and

    plaintiff bears the burden of refuting the presumption. See

    Rolon-Alvarado, 1 F.3d at 78 (quoting Del Valle Rivera v. United

    States, 630 F.Supp. 750, 756 (D.P.R.1986)). Generally, the

    standard of care that a physician owes to patients is “[t]hat
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    [level of care] which, recognizing the modern means of

    communication and education, ... meets the professional

    requirements generally acknowledged by the medical

    profession.” Lama, 16 F.3d at 478 (quoting Oliveros v. Abreu,

    101 P.R. Dec. 209, 226 (1973)).

       Given that establishing the standard of care requires

    specialized medical knowledge, an informed opinion is key.

    See Rolon-Alvarado, 1 F.3d at 78. “Thus, it must ordinarily be

    established by expert testimony.” Id. (citations omitted). In

    fact, the case law overwhelmingly support the view that

    expert testimony is needed to establish both causation, and

    the minimum standard of care. See Medina Santiago v. Velez, 20

    P.R. Offic. Trans. 399, 386 (1988)(quoting Quiñones v. Duarte

    Mendoza, 112 P.R. Dec. 223, 225 (1982))(“The plaintiff must

    establish through expert evidence--unless the lack of care is

    so evident as to infer negligence, the degree of care and

    scientific knowledge required by the profession in the

    treatment of a specific type of patient.”); Marcano Rivera, 415

    F.3d at 168 (citing Rojas–Ithier, 394 F.3d at 43)((“[A] factfinder
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    normally cannot find causation without the assistance of

    expert testimony to clarify complex medical and scientific

    issues that are more prevalent in medical malpractice cases

    than in standard negligence cases.”); Cortes-Irizarry, 111 F.3d

    at 191 (“A medical malpractice plaintiff can—and often

    does—establish causation through expert testimony.”); Pages-

    Ramirez v. Ramirez-Gonzalez, 605 F.3d 109, 113 (1st Cir.

    2010)(citations omitted)(“In order to determine the applicable

    standard of care in a medical malpractice action and to make

    a judgment on causation, a trier of fact will generally need the

    assistance of expert testimony.”).

       In Pages-Ramirez, for example, the Court noted that

    without the expert’s testimony on causation and the standard

    of care, “plaintiffs were unable to present evidence on two

    elements of their case.” See 605 F.3d at 116. Likewise, in

    Rodriguez-Diaz v. Seguros Triple-S, Inc., 636 F.3d 20, 23-4 (1st

    Cir. 2011), the Court expressed that even though plaintiff’s

    attorney “made an admirable effort to do his own medical

    research,” the lack of an expert witness would make it “hard
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    for the jury” to understand the causation elements of the case.

    In affirming the district court’s granting of a motion for

    summary judgment in defendant’s favor premised on the

    absence of an expert witness, the Court categorically

    expressed: “the appeal fails because there is a legal rule

    requiring expert testimony in a case of this character, and

    possible exceptions to the rule have not been shown to apply.”

    Id.

          There are only a few cases from the Puerto Rico Supreme

    Court in which other evidence, aside from expert testimony,

    has been considered sufficient in determining negligence in

    medical malpractice suits. In those cases, where lack of care

    has been found to be “so evident as to infer negligence,” the

    Court has applied the doctrine of res ipsa loquitur. See Quiñones

    v. Duarte Mendoza, 12 P.R. Offic. Trans. 272, 225 (1982)(Finding

    that reasonable care was not exercised because antibiotics

    were not administered as a preventive measure against

    infection); Sociedad de Gananciales, Etc. v. Presbyterian Hospital,

    88 P.R. Dec. 391, 400 (1963)(Holding that a hospital was liable
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    where a patient’s surgery had to be suspended because there

    was falling debris inside the operating room).

       Ms. Laureano-Quiñones, however, has never argued that

    the doctrine of res ipsa loquitur is applicable in this case, and

    even if she had, she has not put forth any uncontroverted

    material facts to establish that the lack of care in this case falls

    under that very limited category of Supreme Court cases.

    Therefore, there is nothing on the record from which the

    Court can conclude that sufficient uncontroverted facts exist

    to establish negligence.

       V. Conclusion

       In light of the absence of expert testimony and for the

    reasons set forth before, defendant’s Amended Motion for

    Summary Judgment at Docket No. 102 is granted.

       IT IS SO ORDERED.
       In San Juan, Puerto Rico, this 24th day of August, 2018.
                   S/ SILVIA CARREÑO-COLL
                   UNITED STATES MAGISTRATE JUDGE
